  Case 2:16-cv-01263-RWS Document 6 Filed 02/10/17 Page 1 of 3 PageID #: 30




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-1263-RWS
                                    §
vs.                                 §
                                    §
LYNDA.COM, INC.                     §
                                    §
      Defendant.                    §
___________________________________ §

                      UNOPPOSED MOTION TO SUBSTITUTE PARTIES

       Defendant Lynda.com, Inc. (“Lynda.com”), Plaintiff Rothschild Broadcast Distribution

Systems, LLC (“RBDS” or “Plaintiff”), hereby submit this Joint Motion to Substitute Parties and

in support thereof state:

                 1.     On November 11, 2016, RBDS filed an action in this Court against

       Lynda.com, Inc. for alleged infringement of U.S. Patent No. 8,856,221 (“the patent-in-

       suit”).

                 2.     Lynda.com represents and warrants that:

                        a.     Lynda.com is a non-existent party, as Lynda.com has merged into

                        LinkedIn Corporation, a Delaware company headquartered in Sunnyvale,

                        California, and Lynda.com no longer exists.

       3.        In reliance on the representations and warranties made in Paragraph 2 above,

RBDS believes that LinkedIn Corporation is a proper defendant in this litigation and should be

substituted for Lynda.com as the defendant in the above-captioned action so that all claims made

against Lynda.com are now made against LinkedIn Corporation.
  Case 2:16-cv-01263-RWS Document 6 Filed 02/10/17 Page 2 of 3 PageID #: 31




       4.      Lynda.com and RBDS further agree to dismiss Lynda.com without prejudice as

allowed under Rule 41(a)(2) of the Federal Rules of Civil Procedure.

       5.      RBDS has not released, and nothing in this Stipulation should be construed as a

release or discharge of, any claim RBDS has or may have in the future against any defendant

named in these actions or any other asserted infringer of the patents-in-suit. All other rights have

been expressly reserved.

       6.      Lynda.com and RBDS agree that if RBDS forms a reasonable belief through

discovery that Lynda.com is making, offering for sale or selling in the United States, or

importing into the United States, any of the products or instrumentalities accused of infringement

in the Complaint, or any products that are substantially similar, Lynda.com will not raise or rely

on this stipulation in opposition to any motion to add Lynda.com as a defendant in these actions.

       Accordingly, Lynda.com and RBDS request that the Court enter the attached order

dismissing Lynda.com without prejudice, and substituting LinkedIn Corporation as a defendant.
Case 2:16-cv-01263-RWS Document 6 Filed 02/10/17 Page 3 of 3 PageID #: 32




Dated February 10, 2017                           Respectfully Submitted,

                                                     /s/ Jay Johnson
                                                     Jay Johnson
                                                     State Bar No. 24067322
                                                     Brad Kizzia
                                                     State Bar No. 11547550
                                                     KIZZIA JOHNSON PLLC
                                                     1910 Pacific Ave., Suite 13000
                                                     Dallas, TX 75201
                                                     (214) 451-0164
                                                     Fax: (214) 451-0165
                                                     jay@kjpllc.com
                                                     bkizzia@kjpllc.com
                                                     anthony@kjpllc.com

                                                     ATTORNEYS FOR PLAINTIFF
                                                     WIRELESS MONTIROING SYSTEMS,
                                                     LLC



                              CERTIFICATE OF SERVICE

     The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system per Local Rule CV-5(a)(3) on February 10, 2017.


                                                  /s/Jay Johnson
                                                  Jay Johnson
